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                       UNITED STATES DISTRICT COURT FOR THE

                               WESTERN DISTRICT OF TEXAS

JOE HOLCOMBE, ET AL.                                 )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )     CIVIL ACTION NO. 5:18-CV-555-XR
                                                     )
UNITED STATES OF AMERICA                             )
                                                     )
                      Defendant.                     )

  ORDER GRANTING ACADEMY, LTD., D/B/A ACADEMY SPORTS + OUTDOORS’
                    MOTION FOR PROTECTION

        On this day the Court considered the Motion for Protection (“Motion”) filed by non-party

Academy, Ltd. d/b/a Academy Sports + Outdoors (“Academy”). After considering Academy’s

motion, along with any responses, replies, all other pleadings in the record, the arguments of

counsel, if any, and any other evidence on file, the Court is of the opinion that the Motion has

merit and should be, and hereby is, granted in all respects. It is therefore ORDERED that:

        In order to protect non-party Academy’s private, confidential, and sensitive business

information and the identities of its employees, the Agreed Protective Order and Confidentiality

Agreement attached to Academy’s Motion as Exhibit A (“Agreed Protective Order”), which was

entered in Ward, et al. v. Academy, Ltd. d/b/a Academy Sports + Outdoors, Cause Number 2017-

CI-23341 in the 224th Judicial District Court of Bexar County, Texas, is hereby adopted and

entered in its entirety by this Court to govern all documents, information, and/or tangible items

produced by non-party Academy in this matter; and,

        Pursuant to the Agreed Protective Order, Academy is ordered to comply with the subpoena

issued by the United States of America and produce only the documents previously produced by

Academy in the aforementioned Bexar County, Texas lawsuit, as requested by the government.



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        SO ORDERED.



SIGNED on the ____ day of ___________________, 2020.


                                             _________________________________
                                             JUDGE PRESIDING




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